                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

  PATRICE NICOLE PITRE,

  Plaintiff,

                 v.                                       CIVIL NO. 22-1214 (CVR)
  TISHMAN HOTEL AND REALTY, LP, et al.,

  Defendants.



                                     JUDGMENT

       Pursuant to the “Joint Stipulation for Voluntary Dismissal” (Docket No. 101) filed

by the parties, all claims filed by Plaintiff against all Defendants are DISMISSED WITH

PREJUDICE without the imposition of costs or attorney’s fees. This Judgment is final

and unappealable from the moment it is entered.

       IT IS SO ORDERED.

       In San Juan, Puerto Rico, on this 6th day of December 2024.

                                         S/CAMILLE L. VELEZ-RIVE
                                         CAMILLE L. VELEZ-RIVE
                                         UNITED STATES DISTRICT JUDGE
